Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 1 of 9




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  ARETHA BROWN,

                 Plaintiff,

  v.

  INTEGRITY FINANCIAL PARTNERS, INC., a Kansas corporation,

                Defendant.


                                 COMPLAINT AND JURY DEMAND


                                           JURISDICTION

  1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                               VENUE

  3.     Venue is proper in this Judicial District.

  4.     The acts and transactions alleged herein occurred in this Judicial District.

  5.     The Plaintiff resides in this Judicial District.

  6.     The Defendant transacts business in this Judicial District.

                                              PARTIES

  7.     Plaintiff Aretha Brown is a natural person.

  8.     The Plaintiff resides in the City of Denver, County of Denver, State of Colorado.
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 2 of 9




  9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

  10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

  11.   Defendant Integrity Financial Partners, Inc. is a Kansas corporation operating from

        an address at 4370 W. 109th Street, Suite 100, Overland Park, Kansas, 66211.

  12.   The Defendant’s registered agent in the state of Colorado is Colorado Manager,

        Inc., 80 Garden Center, Suite 3, Broomfield, Colorado, 80020.

  13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  14.   The Defendant is licensed as a collection agency by the state of Colorado.

  15.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  16.   The Defendant regularly attempts to collect debts alleged to be due another.

  17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

        owed or due or asserted to be owed or due another that arose out of transactions in

        which the money, property or services which are the subject of the transactions are

        primarily for personal, family or household purposes.

                                FACTUAL ALLEGATIONS

  18.   Sometime before 2012 the Plaintiff allegedly incurred a financial obligation that

        was primarily for personal, family or household purposes namely an amount due

        and owing on personal account owed to Academy Bank (hereinafter the

        “Account”).

  19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  20.   The Account went into default with the Academy Bank.



                                              2
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 3 of 9




  21.   After the Account went into default the Account was placed or otherwise

        transferred to the Defendant for collection.

  22.   The Plaintiff disputes the Account.

  23.   The Plaintiff requests that the Defendant cease all further communication on the

        Account.

  24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

        mentioned herein.

  25.   The Defendant acted at all times mentioned herein through its employee(s).

  26.   In the year prior to the filing of the instant action the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant made

        telephone call(s) to the Plaintiff and sent letter(s) via US mail to the Plaintiff.

  27.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

        and / or representative(s), employee(s) and / or agent(s) of the Defendant.

  28.   The Defendant’s purpose for these telephone call(s) and letter(s) was to attempt

        to collect the Account.

  29.   The telephone call(s) and letter(s) each individually conveyed information

        regarding the Account directly or indirectly to the Plaintiff.

  30.   The    telephone     call(s)   and    letter(s)   each   individually    constituted   a

        “communication” as defined by FDCPA § 1692a(2).

  31.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant made telephone call(s) to the Plaintiff was to

        attempt to collect the Account.



                                                3
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 4 of 9




  32.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

        to attempt to collect the Account.

  33.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  34.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant while attempting to collect the

        Account represented to the Plaintiff that paying the Account is the only way to get

        the Account off of the credit bureau reports.

  35.   The Defendant’s representation stated in paragraph 34 was false and was a false

        representation in connection with the collection of a debt, the Account.

  36.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant while attempting to collect the

        Account represented to the Plaintiff that the Account will be in Chex Systems

        until it is paid.

  37.   The Defendant’s representation stated in paragraph 36 was false and was a false

        representation in connection with the collection of a debt, the Account.

  38.   The Plaintiff called the Defendant on August 14, 2012 to discuss the Account and

        to dispute the Account.

  39.   The Plaintiff and the Defendant had a telephone conversation regarding the

        Account on August 14, 2012.



                                             4
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 5 of 9




  40.   During the telephone conversation between the Plaintiff and the Defendant

        regarding the Account on August 14, 2012 the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant while

        attempting to collect the Account represented to the Plaintiff that paying the

        Account is the only way to get the Account off of the credit bureau reports.

  41.   The Defendant’s representation stated in paragraph 40 was false and was a false

        representation in connection with the collection of a debt, the Account.

  42.   During the telephone conversation between the Plaintiff and the Defendant

        regarding the Account on August 14, 2012 the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant while

        attempting to collect the Account represented to the Plaintiff that the Account will

        be in Chex Systems until it is paid.

  43.   The Defendant’s representation stated in paragraph 42 was false and was a false

        representation in connection with the collection of a debt, the Account.

  44.   Upon information and belief the Defendant made an audio recording and/or audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on August

        14, 2012.

  45.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on August

        14, 2012.




                                               5
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 6 of 9




  46.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) to the Plaintiff on the Account

        in the year prior to the filing of the instant action.

  47.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) from the Plaintiff to the

        Defendant on the Account in the year prior to the filing of the instant action.

  48.   Upon information and belief the Defendant made audio recording(s) of some of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action.

  49.   Upon information and belief the Defendant made audio recording(s) of all of its

        telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing of

        the instant action.

  50.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

        the year prior to the filing of the instant action.

  51.   Upon information and belief the Defendant has a copy or copies of the

        audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

        in the year prior to the filing of the instant action.

  52.   Upon information and belief in the time between when it received this Complaint

        and Jury Demand and when a Answer to this Complaint and Jury Demand was

        filed on its behalf with the Court the Defendant made an inquiry and/or

        investigation as to whether it had any audio recording(s) of any telephone



                                                 6
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 7 of 9




        conversation(s) between the Defendant and the Plaintiff including the telephone

        conversation(s) on August 14, 2012.

  53.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

        that it had of telephone conversation(s) between the Defendant and the Plaintiff

        including the telephone conversation(s) on August 14, 2012 to the attorney

        and/or the law firm who employs the attorney who is filing the Answer to this

        Complaint and Jury Demand on behalf of the Defendant.

  54.   Upon information and belief the Defendant’s copies of the audio recording(s) of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action substantiate the Plaintiff’s allegations in this action.

  55.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute false or misleading representation(s) or

        mean(s) and violate FDCPA 1692e preface, e(2)(A), e(8) and e(10).

  56.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute unfair or unconscionable means to collect

        or attempt to collect a debt and violate FDCPA 1692f preface.

  57.   “The Act is a strict liability statute; violations of the Act do not need to be

        intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

        F.Supp.2d 836, 840 (D.Az. 2011).

  58.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only demonstrate

        “one violation of its provisions” to be entitled to a favorable judgment.” Doshay v.

        Global Credit and Collection Corporation, 796 F.Supp.2d 1301, 1304 (D.Colo.



                                                7
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 8 of 9




        2011).

  59.   As a consequence of the Defendant’s collection activities and

        communication(s), the Plaintiff seeks damages pursuant to FDCPA

        1692k(a).

                                   RESPONDEAT SUPERIOR

  60.   The representative(s) and / or collector(s) at the Defendant were employee(s) of

        the Defendant at all times mentioned herein.

  61.   The representative(s) and / or collector(s) at the Defendant were agent(s) of the

        Defendant at all times mentioned herein.

  62.   The representative(s) and / or collector(s) at the Defendant were acting within the

        course of their employment at all times mentioned herein.

  63.   The representative(s) and / or collector(s) at the Defendant were acting within the

        scope of their employment at all times mentioned herein.

  64.   The representative(s) and / or collector(s) at the Defendant were under the direct

        supervision of the Defendant at all times mentioned herein.

  65.   The representative(s) and / or collector(s) at the Defendant were under the direct

        control of the Defendant at all times mentioned herein.

  66.   The actions of the representative(s) and / or collector(s) at the Defendant are

        imputed to their employer, the Defendant.

  67.   As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

        damages pursuant to FDCPA 1692k(a).




                                              8
Case 1:12-cv-02448-CMA-KLM Document 1 Filed 09/14/12 USDC Colorado Page 9 of 9




                                 COUNT I, FDCPA VIOLATION

  68.   The previous paragraphs are incorporated into this Count as if set forth in full.

  69.   The act(s) and omission(s) of the Defendant and its representative(s),

         employee(s) and / or agent(s) violated the FDCPA, § 1692e preface, e(2)(A),

         e(8), e(10) and § 1692f preface.

  70.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

        attorney's fees and costs.

                                 JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                     DEMAND FOR RELIEF

  WHEREFORE, the Plaintiff requests that the Court grant the following:

  1.    A judgment in favor of the Plaintiff and against the Defendant.

  2.    Damages pursuant to 15 U.S.C. § 1692k(a).

  3.    Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.    Such other and further relief as the Court deems just and proper.

                                            Respectfully submitted,

                                            _s/ David M. Larson        __________
                                            David M. Larson, Esq.
                                            88 Inverness Circle East, Suite I-101
                                            Englewood, CO 80112
                                            (303) 799-6895
                                            Attorney for the Plaintiff




                                               9
